                    Case 1:14-cv-01115-JEJ Document 6 Filed 08/26/14 Page 1 of 1

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                                                  August 26, 2014

     Honorable John E. Jones III
     United States District Court
     Middle District of Pennsylvania (Harrisburg)
     228 Walnut Street #1060
     Harrisburg, PA 17101

               Re:          Toni Braunagel v. Penn Credit Corporation
                            No. 1:14-cv-01115-JEJ

     Your Honor:

             Kindly be advised the above referenced matter has been settled. We are waiting for
     circulation of the proposed release in order to finalize the settlement.

               Thank you for your time in this matter.


                                                      Sincerely,

                                                      /s/ Brent F. Vullings

                                                      Brent F. Vullings, Esq.


     BFV:fc
